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                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF RHODE ISLAND




 IN RE:
                                                 CASE NO. 1:25-BK-10145
 Quinebaug Camp Properties, LLC
                                                 CHAPTER 11
                  DEBTOR




     ORDER APPROVING STIPULATION FOR ADEQUATE PROTECTION


      IT IS HEREBY ORDERED that the Stipulation between D’Amico Lending, LLC and
Quinebaug Camp Properties, LLC filed on or about _______________, 2025 in the above matter
is APPROVED.




Dated: ________________, 2025

                                         BY THE COURT:



                                         _____________________________________
                                         UNITED STATES BANKRUPTCY JUDGE
